Case 2:15-cv-03048-R-FFM Document 59 Filed 05/09/16 Page 1 of 24 Page ID #:1367




       KAUFMAN DOLOWICH & VOLUCK LLP
       LOUIS H . CASTORIA California Bar No. 95768)
     2 lcastoria@kdv law.com
       MARIOI'f V. CRUZ (California Bar No . 244223)
     3 mcruz@kdvlaw.com
       425 Cafifornia Street Suite 2 100
     4 San Francisco, CA 94104
       Telephone: (415) 926-7600
     5 Facsimile: (415) 926-7601

     6   Attorneys for Plaintiff,
         The Thomas More Law Center
     7

     8                             UNITED STATES DISTRICT COURT

     9                             CENTRAL DISTRICT OF CALIFORNIA

    10                                   WESTERN DIVISION

    11
         THOMAS MORE LAW                          Case No. 2:15-cv-03048 R(FFMx)
    12   CENTER,
                                                  Action Filed:
    13                Plaintiff,
                                                  EXPERT REPORT OF DR. JAMES
    14         vs .                               T. McCLAVE
    15   KAMALA HARRIS, in her                    Trial Date:      June 28, 2016
         Official CaRacity as Attorney            Time:            9:30 a.m.
    16   General of California,                   Judge:           Hon. Manuel L. Real
    17                                            Courtroom:       8
                      Defendant.
    18

    19

    20

    21

    22
    23

    24

    25

    26

    27

    28                       EXPERT REPORT OF DR. JAMES T. McCLAVE

                                                                CASE No.: 2: l 5-cv-03048 R(FFMx)
Case 2:15-cv-03048-R-FFM Document 59 Filed 05/09/16 Page 2 of 24 Page ID #:1368




          I.    INTRODUCTION
      2         1.     My name is James T. McClave, Ph.D. I am the founder and Chief
      3   Executive Officer of Info Tech, Inc. ("Info Tech"). I have provided consulting
      4   services in a variety of areas since I founded Info Tech in 1977.
      5         2.     My detailed employment background, professional experience,
      6   qualifications, authored publications, and list of prior engagements are contained in
      7   my curriculum vitae, which is attached to this report as Exhibit A and is
      8   incorporated herein.
      9         3.     Since its inception, Info Tech has provided consulting and software
     10   development services associated with the analysis of large, complex, databases.
     11   My expertise and that of my Info Tech associates focuses on the development of
     12   computerized tools to assist in the acquisition and analysis of data in a wide variety
     13   of industries and applications. Info Tech first launched this endeavor as a result of
     14   a research grant received in 1977 under the sponsorship of the U.S. Department of
     15   Justice and administered by the Florida Attorney General's Antitrust Section.
     16         4.     I have been retained by Kaufman Dolowich & Voluck LLP on behalf
     17   of its client, The Thomas More Law Center (the "Law Center"), to provide expert
     18   analysis and opinions in this case.
     19         5.     For purposes of formulating my opinions, I have been asked to draw
    20    on my academic background, peer-reviewed academic research, related electronic
    21    and print documentation, and case materials.
    22          6.     I have also been asked to review my Expert Report and Supplemental
    23    Expert Report in the case of Americans for Prosperity Foundation v. Kamala
    24    Harris, Case No. 2: 14-cv-09448-R-FFM, in which I appeared at trial as an expert
    25    witness on behalf of the plaintiff on February 24, 2016, regarding the same
    26    matters. I am advised that counsel for the Law Center has enclosed true and
    27
                                                2
    28                        EXPERT REPORT OF DR. JAMES T. McCLA VE

                                                                CASE No.:   2: 15-cv-03048 R(FFMx)
Case 2:15-cv-03048-R-FFM Document 59 Filed 05/09/16 Page 3 of 24 Page ID #:1369




          correct copies of my Expert Report and Supplemental Expert Report and
      2   appendices referenced in and attached to the same in the aforementioned case in
      3   electronic form on a flash drive being served concurrently herewith due to the
      4   voluminous nature of said Reports and appendices. I incorporate these Reports and
      5   appendices in this Report by reference.
      6         7.     I have also been asked to review materials that are specific to this
      7   case, including the Amended Complaint of The Thomas More Law Center, the
      8   Declaration of Richard Thompson dated April 23, 2015, and the Supplemental
      9   Declaration of Richard Thompson dated May 6, 2015, including the exhibits to
     10   those documents. A list of these materials is included in Exhibit B, which is
     11   attached hereto and referenced herein.
     12         8.     I have outlined my opinions from my review of case materials in this
     13   report and am prepared to testify about them if asked by the court, the Law
     14   Center's attorneys, or the California Attorney General's attorneys.
     15         9.     I may provide additional testimony regarding this report, or the
     16   opinions of any of the Attorney General's experts. I reserve the right to modify or
     17   supplement my opinions and their bases to account for any additional information
     18   that may emerge in this matter, including additional deposition or trial testimony or
     19   newly produced documents. As I understand it, factual discovery remains ongoing
    20    such that numerous documents have yet to be produced and important depositions
    21    have yet to be taken; in light of this, my reservation of rights to supplement is
    22    especially appropriate and warranted. If the Attorney General submits an expert
    23    report corresponding to this report, I reserve the right to rebut any positions taken
    24    in that report and to provide a supplemental report in light of them.
    25

    26
    27
                                                3
    28                        EXPERT REPORT OF DR. JAMES T. McCLAVE

                                                                 CASE No.: 2:15-cv-03048 R(FFMx)
Case 2:15-cv-03048-R-FFM Document 59 Filed 05/09/16 Page 4 of 24 Page ID #:1370




           II.   RETENTION AND COMPENSATION
     2           10.   I am being compensated for my time on this case on an hourly basis at
      3   my current standard rate of $750 per hour. I am also being reimbursed for direct
     4    expenses that I incur, including travel expenses and travel time. Info Tech is
      5   further compensated for the time of other consultants and staff at rates between $75
      6   and $500 per hour. Info Tech's Consulting Services Rate Schedule for this
      7   engagement is attached to this report as Exhibit C. My compensation and that of
      8   Info Tech is not contingent upon the results of my analysis, my opinions, or the
      9   substance of my testimony at deposition or at trial.
     10   III.   BASES FOR OPINIONS AND MATERIALS CONSIDERED
     11
                 11.   In addition to the materials listed described above in this Declaration,
     12
          and the testimony and evidence that I heard and saw during my attendance at the
     13
          trial of the Americans for Prosperity Foundation case, I have reviewed and
     14
          considered the materials listed in Exhibit B in forming my opinions in this case. I
     15
          have also relied on my extensive education, experience, and expertise in addition
     16
          to the listed materials to formulate my expert opinions.
     17
          IV.    ASSIGNMENT
     18
                 12.   I understand this case concerns whether the California Attorney
     19
          General can lawfully require The Law Center and other public charities to file the
    20
          Schedule B to IRS Form 990 ("Schedule B"), which includes the names and
    21
          addresses of the charities' large donors, with the California Registry of Charitable
    22
          Trusts (the "Registry"). I further understand that the Registry is currently requiring
    23
          charities operating in California to file registration and annual report documents,
    24
          including certain confidential documents that are not meant for public access.
    25
                 13.   I understand the Law Center alleges that the Attorney General's
    26
          requirement to file Schedule Bis new, that the Attorney General does not
    27
                                                4
    28                        EXPERT REPORT OF DR. JAMES T. McCLA VE

                                                                 CASE No.: 2: 15-cv-03048 R(FFMx)
Case 2:15-cv-03048-R-FFM Document 59 Filed 05/09/16 Page 5 of 24 Page ID #:1371




          adequately protect Schedule Bs' confidentiality, and that pursuant to the First
      2   Amendment of the United States Constitution, the Law Center should not have to
      3   provide the Attorney General with copies of its Schedule Bs.
      4          14.     I was retained by the Law Center to work with counsel and my
      5   colleagues to obtain and analyze data from the Registry's public files, which are
      6   accessible to the public through the Registry's websites. I was further asked to
      7   work with counsel and my colleagues to develop computerized methods to
      8   download, examine, and classify and publicly-available documents. After
      9   downloading those documents, I was asked to ( 1) review letters the Attorney
     1O   General sent to charitable organizations notifying them of filing deficiencies,
     11   including a charity's failure to submit Schedule B, and (2) identify instances where
     12   confidential Schedule Bs were accessible from the public Registry website. These
     13   steps were taken in an effort to inform, e.g. conduct analysis of (1) when the
     14   Attorney General began demanding Schedule B, and (2) whether, and how many
     15   times, the Attorney General has breached her Schedule B confidentiality policy.
     16          15.     My analysis and opinions are outlined in this expert report and the
     I7   expert reports I prepared in the Americans for Prosperity Foundation v. Kamala
     18   Harris, Case No. 2: 14-cv-09448-R-FFM, which I incorporate herein as stated
     19   above. I may also provide testimony on any additional matters discussed in this
     20   report. I reserve the right to modify or supplement my opinions, as well as the
     21   bases for my opinions, in light of any documents, testimony, or other evidence that
     22   may emerge during the course of this matter, including additional deposition
     23   testimony or newly produced documents, as I understand discovery is ongoing in
     24   this matter.
     25          16.     In addition, I expect that I may be asked to consider and testify about
     26   issues that may be raised by the Attorney General's fact witnesses, experts, or at
     27
                                                      5
     28                        EXPERT REPORT OF DR. JAMES T. McCLA VE

                                                                  CASE No.: 2:15-cv-03048 R(FFMx)
Case 2:15-cv-03048-R-FFM Document 59 Filed 05/09/16 Page 6 of 24 Page ID #:1372




      1   trial. I further reserve the right to rely on any documents or testimony that the
      2   Attorney General or her experts may offer.
      3              17.          In connection with my anticipated testimony in this action, I may use
      4   as exhibits various documents produced in this case that refer or relate to the
      5   matters discussed in this report. I have not yet selected the particular exhibits that
      6   might be used. I may also create or assist with the creation of certain
      7   demonstrative evidence to assist me in testifying, and I reserve the right to do so in
      8   further support of the positions set forth in this report.
      9    V.       SUMMARY OF OPINIONS
     10             18.            My research confirms that numerous confidential documents were
     11   publicly available on the Registry in 2015 and likely well before that.
     12   Additionally, my research showed that the Registry first sent deficiency letters to
     13   public charities requesting Schedule Bs in the fourth quarter of 2010.
     14

     15

     16                                                    Respectfully Submitted,
     17

     18

     19

     20
     21
          4818-8730-3727 , V. I

     22
     23

     24

     25

     26
     27
                                                              6
     28                                 EXPERT REPORT OF DR. JAMES T. McCLAVE

                                                                          CASE No.:   2: 15-cv-03048 R(FFMx)
Case 2:15-cv-03048-R-FFM Document 59 Filed 05/09/16 Page 7 of 24 Page ID #:1373




         ............................... Exhibit A
Case 2:15-cv-03048-R-FFM Document 59 Filed 05/09/16 Page 8 of 24 Page ID #:1374




                                                 JAMES T. McCLAVE, Ph.D.
                                                    Chief Executive Officer
                                                           Info Tech, Inc.
                                              5700 Southwest 34th Street, Suite 1235
                                                   Gainesville, FL 32608-5371
                                                   Telephone: 352-381-4400
                                                         Fax: 888-971-3916
                                                E-mail: jim. mcclave@i ntotechfl.com




                                                       Areas of Specialization

   Statistics, Econometrics, Statistical and Econometric Modeling, Time Series and Regression Analysis,
   Forecasting , Biostatistics, Antitrust Liability Analysis and Damage Estimation, Employment Discrimination
   Analysis (Liability and Damages), Calculation of Business Damages, Collusion Detection Software
   Development and Training.


                                                  Professional Background

   Chief Executive Officer, Info Tech: Statistical Consulting, Information Systems Software Development,
   Data Management, Computer Analysis, Litigation Support, Expert Testimony, 1977-present.

   Adjunct Professor, Business and Economic Statistics, Graduate School of Business, University of Florida,
   1989-present.

   Adjunct Professor, Department of Statistics, College of Liberal Arts and Sciences, University of Florida,
   2015-Present.

   Associate Professor, Department of Decision and Information Sciences, University of Florida, 1986-1989.

   Associate Professor, College of Business Administration, University of Florida, 1981-1986.

   Associate Professor, Department of Statistics, University of Florida, 1977-1981.

   Assistant Professor, Department of Statistics, University of Florida, 1973-1977.

   Visiting Assistant Professor, Department of Statistics, State University of New York at Buffalo, 1972-1973.

   Assistant Professor, Department of Statistics, University of Florida, 1971-1972.

   Graduate Teaching Assistant, Department of Statistics, University of Florida, 1966-1971.


                                                             Education

                                       1971    Ph.D.           Statistics         University of Florida
                                       1966    B.S.            Physics            Bucknell University




   ( > Info Tech.
        J"i'\o;-,,·t1,:m1,1 w:;i\i:;                                                                           1
Case 2:15-cv-03048-R-FFM Document 59 Filed 05/09/16 Page 9 of 24 Page ID #:1375


                                                         James T. McClave, Ph.D .


                                                     Partial List of Courses Taught

   Statistics and Econometric Modeling (TV Course for approximately 1,000 students per term)
   Statistics and Econometrics for MBAs
   Introduction to Probability and Statistics
   Engineering Statistics
   Statistics for Computer Sciences
   Mathematical Statistics
   Statistical Methods for Social Sciences
   Statistical Methods for Business
   Statistical Methods for Biological Sciences
   Applied Time Series Modeling and Forecasting
   Stochastic Processes
   Advanced Time Series Analysis


                                                             Publications

   Books

   Statlstics for Business and Economics , 12th Edition, Pearson , 2014 (with G. Benson and T. Sincich).

   A First Co urse in Business Statistics, 8th Edition, Prentice Hall, 2001 (with G. Benson and T. Sincich).

   Statistics, 13th Edition, Pearson , 2017 (with T. Sincich).

   A First Course in Statistics, 12th Edition, Pearson, 2017 (with T. Sincich).

   Probability and Statistics tor Engineers, 4th Edition, Duxbury Press, Wadsworth Publishing Company,
   1995 (with R. Scheaffer).

   A Second Course in Busi nes s Statistics: Regression Analysis, Dellen Publishing Company, 1981 (with W .
      Mendenhall) .


   Publications in Refereed Statistics and Economic Journals

   Lanzillotti, R. F. and McClave, J.T., "Comment: Meeting the 'Ambiguity' Test Under Daubert." Antitrust,
      17(2), 44-48, Spring 2003.

   Blair, R.D., Kaserman, D.L., and McClave, J.T., "Competition on Trial: Florida Deregulates Trucking. "
      Challenge, 30(4), 60-64, 1987.

   Blair, R.D ., Kaserman, D.L., and Mcclave, J.T., "Motor Carrier Deregulation: The Florida Experiment."
      The Review of Economics and Statistics , 68, 159-164, 1986.

   McClave, J.T. and Tipton, J., "Time Series Modeling: A Comparison of the Maximum Chi-square and Box-
     Jenkins Approaches." Time Seri es Analysis : Theory and Practice, 4, 155-161, 1983.

   Spreen, T.H. , Mayer, R.E., Simpson, J.R., and McClave, J.T., "Forecasting Monthly Slaughter Cow Prices
      with a Subset Autoregressive Model." Southern Journal of Agricultura l Economics, 11 , 127-131, 1979.

   Littell, R.C., McClave, J.T., and Offen, W.W., "Goodness of Fit Tests for the Two Parameter Weibull
       Distribution." Communications in Statistics, B8(3), 257-269, 1979.



   C> Info Tech
        •'i·.:c;·,,,~ y ;.-::~   1, r   ~·. r:1~ ~                                                             2
Case 2:15-cv-03048-R-FFM Document 59 Filed 05/09/16 Page 10 of 24 Page ID #:1376


                                                  James T. McClave, Ph.D.


    Mcclave, J.T., "Choosing the Order of a Moving Average Process: The Max Chi-square."
      Communications in Statistics, A7, 259-276, 1978.

    Wackerly, D.D., Mcclave, J.T., and Rao, P.V., "Measuring Nominal Scale Agreement Between a Rate
      and a Known Standard." Psychometrika., 43, 213-223, 1978.

    Mcclave, J.T., "Choosing the Order of an Autoregressive Process: The Max Chi-square Technique ."
      Journal of the American Statistical Association, 73, 122-128, 1978.

    Mcclave, J.T. and Marks, R.G., "Predicting Hospital Census Using Time Series Regression Methods."
      Communications in Statistics, A6 (No. 12), 1187-1206, 1977.

    Mcclave, J.T., "Subset Autoregression. " Technometrics, 17, 213-220, 1975.

    Mcclave, J.T., "A Comparison of Moving Average Estimation Procedures." Communications In Statistics,
      3(9), 865-883, 1974.

    Mcclave, J.T., "On the Bias of Autoregressive Approximations to Moving Averages." Biometrika, 60, 559-
      605, 1973.


    Other Publications

    Hewitt, C., McClave, J.T., and Sibley, D.S., "Incumbency and Bidding Behavior in the Dallas-Ft. Worth
      School Milk Market." (Mimeo, University of Texas at Austin) 1993.

    Hodgson, T.J ., King, R.E., McClave, J.T., Sullivan, J.H., and Zegel, W.C., "Analysis and Modeling of a
      Proposed Mining and Benefication Process." Industrial and Engineering Chemical Research, 26,
      2223-2228, 1987.

    Newman, J.R., Novakova, I.E. , and McClave, J.T., "The Influence of Industrial Air Emissions on the
      Nesting Ecology of the House Martin (Delichon Urbica) in Czechoslovakia." Biological Conservation,
      31, 229-248, 1985.

    Doering, P.L., Brackbill, Y., McManus, K. , Woodward, L., and McClave, J.T., "Prenatal Drugs: Patient
      Information and its Source." Contemporary Pharmacy Practice, 5(2), 112-119, 1982.

    Mcclave, J.T., Sullivan, J.H., and Pearson, J.G ., "Statistical Analysis of Fish Chronic Toxicity Test Data."
      Aquatic Toxicology and Hazard Assessment, Proceedings of the Fourth Annual Symposium on
      Aquatic Toxicology, ASTM , 1981.

    Winchester, B.J., Delotelle, R.S., Newman, J.R., and Mcclave, J.T., "Ecology and Management of the
       Colonial Pocket Gopher: A Progress Report." Proceedings of the Rare and Endangered Wildlife
       Symposium, 1979.

    Rothrock, T.P. , McClave, J.T., and Ailstock, J.P., "A Computerized Economic and Statistical Investigation
       of the Florida School Bread Market." Southeast Antitrust Review, 1, 13-54, 1978.

    Mclean, J.E., Ware, W.B., and McClave, J.T., "How Analysis of Covariance Can Yield Misleading Results
      in Educational Experiments-a Monte Carlo Study." Proceedings of the American Statistical
      Association, 548-553, 1975.




    C> Info Tech .
         r··1·~0·1.~,   It'-'"';. 1 1· ·, :. ·~                                                                     3
Case 2:15-cv-03048-R-FFM Document 59 Filed 05/09/16 Page 11 of 24 Page ID #:1377


                                                  James T. Mcclave, Ph .D.


    Expert Testimony

    Americans for Prosperity Foundation. v. Kamala Harris., in her Official Capacity as Attorney General of
      California . U.S. District Court, Central District of California, Western Division. Case No. 2:14-CV-
      09448. Testimony at trial regarding analysis of public database for improper disclosure of confidential
      documents . February 24, 2016. Retained by Plaintiff.

    G.B., Z.L. Through His Guardian K.L, J.H, and M .R. v. Agency for Persons with Disabilities. State of
       Florida, Division of Administrative Hearings; Case No. 15-005903RP. Testimony in deposition
       regarding evaluation of regression model proposed for use to allocate annual Florida budget for
       developmentally disabled persons. February 8, 2016. Retained by Plaintiffs.

    Duane C. Kohoutek, Inc., et al. v. State of Montana. Montana Eighth Judicial Disctrict Court, Cascade
      County, Cause No : ADV-14-181. Testimony at a hearing regarding analysis of Montana liquor sales
      data to evaluate damages from alleged improper discount payments. February 4, 2016. Retained by
      Defendant.

    Americans for Prosperity Foundation , v. Kamala Harris, in her Official Capacity as Attorney General of
      California . U.S. District Court, Central District of California, Western Division . Case No. 2:14-CV-
      09448. Testimony in deposition regarding analysis of public database for improper disclosure of
      confidential documents. January 14, 2016. Retained by Plaintiff.

    Action Nissan, Inc. d/b/a Universal Hyundai v. Hyundai Motor America. et al.; West Colonial Hyundai, Inc.
       d/b/a Orlando Hyundai v. Hyundai Motor America, et al. State of Florida, Division of Administrative
       Hearings; DOAH Case No. 15-2334 and 15-2335 respecitvely. Testimony at hearing regarding review
       and analysis of two expert reports filed to determine the reliabiltiy of population estimates in Lake
       County, Florida. December 8, 2015. Retained by Plaintiffs.

    Air Cargo Shipping Services Antitrust Litigation. U.S. District Court for the District of New York, MDL No.
        1775; Master File 06-MD-1775(JG)(VVP); Relating to All Actions. Testimony in deposition regarding
        classwide damages methodology. November 13, 2015. Retained by Plaintiffs .

    Maria Cu mmings. et al. v. Board of Regents of the University of New Mexico . et al. Second Judicial
      District Court, County of Bernalillo, State of New Mexico; Cause No. CV 2001-01409. Testimony in
      deposition re: development of class-wide damages methodology for alleged failure to provide proper
      pediatric cancer treatment protocols. October 29, 2015. Retained by Plaintiffs .

    B&S Transport. Inc., et al. v Bridgestone Americas Tire Operations. LLC . et al. U.S. District Court,
      Northern District of Ohio, Eastern Division, Case No. 5:13 CV-2793. Testimony in depositon
      reegarding econometric analysis of damages in an alleged illegal termination case. October 15, 2015.
      Retained by Plaintiffs.

    Action Nissan. Inc. d/b/a Universal Hyundai v. Hyundai Motor America . et al. : West Colonial Hyundai. Inc.
       d/b/a Orlando Hyundai v. Hyundai Motor America. et al. State of Florida, Division of Administrative
       Hearings ; DOAH Case No. 15-2334 and 15-2335 respecitvely. Testimony in deposition regarding
       review and analysis of two expert reports filed to determine the reliabiltiy of population estimates in
       Lake County, Florida. October 9, 2015. Retained by Plaintiffs.

    The Valspar Corporation and Valspar Sourcing. Jnc. v. Millennium Inorganic Chemicals, Inc.; The Valspar
       Corporation and Valspar Sourcing. Inc . v. Huntsman International LLC and Kronos Worldwide . Inc .;
       The Valspar Corporation and Valspar Sourcing . Inc. v. E.I. Dupont De Nemours and Company. U.S.
       District Court for the District of Delaware ; Case Nos. 13-3214-RHK-LIB; 4 :14-cv-01130; 14-527-RGA
       (respectively). Testimony in deposition regarding methodology for calculating damages for a case
       involving titanium dioxide. August 18, 2015. Retained by Plaintiff.


    C> Info Tech.
         l"l"iG'/,~1 !1"J:~   /· 1   l'i'\;•'I~                                                                   4
Case 2:15-cv-03048-R-FFM Document 59 Filed 05/09/16 Page 12 of 24 Page ID #:1378


                                                    James T. Mcclave, Ph.D.


    The Valspar Corporation and Valspar Sourci ng, Inc. v. Millennium Inorganic Chemicals. Inc.; The Valspar
       Corporation and Valspar Sourci ng, Inc. v. Huntsman International LLC and Kronos Worldwide, Inc.;
      The Valspar Corporation and Valspar Sourcing, Inc. v. E. I. Dupont De Nemours and Company. U.S.
       District Court for the District of Delaware ; Case Nos. 13-3214-RHK-LIB; 4:14-cv-01130 ; 14-527-RGA
       (respectively). Testimony in deposition regarding methodology for calculating damages. June 2, 2015.
       Retained by Plaintiff.

    United States of America. Jacksonville Brotherhood of Firefighters , Jacksonville Branch of NAAC P, et al.
       v. Consolidated City of Jacksonville. Jacksonville Association of Firefighters. Local 122. IAFF. U.S.
       District Court, Middle District of Florida, Jacksonville Division; Case No. 3:12-cv-00451-J-32MCR.
       Testimony at hearing regarding statistical analyses of promotion rates . May 13, 2015. Retained by
       Defendants.

    Universal Coln and Bullion , Ltd. v. Federal Express Coroorati on, et al. U.S. District Court, Western District
       of Tennessee; Case No. 2:12-cv-02778-(SMH-dkv). Testimony in deposition regarding statistical
       analysis of coin sales data responding to allegations of lost sales due to business interference. March
       5, 2015. Retained by Defendants.

    State of Ohio, ex re l. Michael DeWine. Attorne y General of Ohio v. Cargill, Incorporated , Cargill Deicing
       Technology, Morton Salt. Inc. and Morton International . LLC. Court of Common Pleas, Tuscarawas
       County, Ohio, General Trial Division; Case No. 2012 CV 03 0268. Testimony in deposition regard ing
       liability and damage analysis for bid-rigging case. January 15, 2015. Retained by Plaintiffs.

    Jaime Gonzalez. et al. v. Owens Corning Sales, LLC, et al. U.S. District Court, Western District of
       Pennsylvania; Case No. 13-cv-1378(JFC). Testimony in deposition regarding statistical analysis of
       plaintiffs' expert's class report and analysis of warranty claims. August 20, 2014. Retained by
       Defendant.

    In re : The Marriage of lvona Shedroff and Adam Shedroff. Circuit Court of the Eleventh Judicial Circuit in
        and for Miami-Dade County, Florida; Family Division Case No. 12-27102 FC 01 . Testimony regarding
        the analysis of cost of living differences between Miami, Florida and Prague in the Czech Republic.
        August 18,2014. Retained by Petitioner/Wife.

    In re : Cathode Ray Tube (C RT) Antitrust Litigation. U.S. District Court, Northern District of California, San
        Francisco Division ; Case No. 07-5944-SC, MDL No. 1917. Testimony in two depositions regarding
        methodology for assessing direct purchasers' damages. June 25, 2014 and December 3, 2014.
        Retained by Plaintiffs .

    United States of America; Jacksonville Brotherh ood of Firefighters, et al, v. Consolidated City of
       Jacksonville, et al. U.S. District Court, Middle District of Florida, Jacksonville Division; Case No . 3:12-
       cv-00451-J-32MCR . Testimony in deposition regarding methodology for determining potential
       disparate impact of testing for promotions. March 12, 2014. Retained by Defendants.

    Standard Iron Works v. Arcelorrnlttal. et al. U.S. District Court, Northern District of Illinois, Eastern
       Division; Case No. 08-cv-5214. Testimony in class certification hearing regarding methodology for
       assessing classwide impact and damages. March 5-6, 2014 and April 11, 2014. Retained by Plaintiffs.

    Rail Freight Fuel Surcharge Antitrust Liqitation . U.S. District Court for the District of Columbia; Case No.
       1 :07-mc-00489-PLF. Testimony in two depositions regarding econometric methodology for assessing
       classwide impact and damages. February 26, 2014 and July 24, 2014. Retained by Plaintiffs.

    Global Techno logy Center Inc. v. Melbourne Airport Authority. Circuit Court of the Eighteenth Judicial
       Circuit in and for Brevard County, Florida; Case No. 05-2004-CA-029094-XXXX-XX. Testimony in
       deposition regarding damages in a breach of contract allegation. December 11 , 2013. Retained by
       Plaintiffs.



    C>Info Tech
         i.., •.;0·1,\!!1·J:~   ;,r 1·, ·:•..::•·                                                                  5
Case 2:15-cv-03048-R-FFM Document 59 Filed 05/09/16 Page 13 of 24 Page ID #:1379


                                             James T. McClave, Ph.D.


    Allegro Law. LLC , Debtor. Case No. 10-30631-WRS . Chapter 7; Daniel G. Hamm . et al. v Americorp Inc.,
        et al. Adv. No. 11 -03007. U.S. Bankruptcy Court for the Middle District of Alabama. Testimony at trial
        regarding statistical sampling and estimation of damages attributable to alleged fraudulent conduct.
        November 4, 2013. Retained by Plaintiffs.

    Air Cargo Shipping Services Antitrust Litigation. U.S. District Court for the District of New York, MDL No.
        1775; Master File 06-MD-1775(JG)(VVP) ; Relating to All Actions. Testimony at hearing regarding
        classwide damages methodology. October 29-30, 2013. Retained by Plaintiffs.

    Joseph Williams Sr., et al. v. Haugabrooks Funeral Home, Inc., et al. State Court of Fulton County, State
       of Georgia; Civil Action File No. 11 EV011942E. Testimony in deposition regarding damages in
       wrongful acts litigation. August 27, 2013. Retained by Plaintiffs.

    G.B.. Z.L. Through His Guardian K. L, J.H. and M.A. v. Agency for Perso ns with Disabilities. State of
       Florida, Division of Administrative Hearings; Case No. 13-1849RP. Testimony at administrative
       hearing regarding statistical model for determining individual compensation. July 9 and 11, 2013.
       Retained by Plaintiff

    G.B .. Z.L. Through His Guardian K.L. J.H . and M.A. v. Agencv for Persons with Disabilities. State of
       Florida, Division of Administrative Hearings ; Case No. 13-1849RP. Testimony in deposition regarding
       statistical model for determining individual compensation . July 5, 2013 . Retained by Plaintiff

    Global Technology Center Inc. v. Melbourne Airport Authority. Circuit Court of the Eighteenth Judicial
       Circuit in and for Brevard County, Florida; Case No. 05-2004-CA-029094-XXXX-XX. Testimony in
       deposition regarding damages in a breach of contract case. May 17, 2013. Retained by Plaintiffs.

    Air Cargo Shipping Services Antitrust Litigation. U.S. District Court for the District of New York, MDL No.
        1775; Master File 06-MD-1775(JG)(VVP) ; Relating to All Actions. Testimony in deposition regarding
        methodology for determining classwide impact. March 20, 2013. Retained by Plaintiffs.

    Urethane Antitrust Litigation. Seegott Holdings, Inc .. et al. v. Bayer AG. et al. Relates to the Polyether
       Polyol Cases. U.S. Disctrict Court, District of Kansas, Case No. 04-MD-1616-JWL. Testimony in trial
       regarding classwide damage estimation . February 5-6, 2013. Retained by Plaintiffs.

    Standard Iron Works v. Acelorm ittal. et al. U.S. District Court, Northern District of Illinois, Eastern
       Division; Case No. 08-cv-5214. Testimony in deposition regarding methodology for determining
       impact and estimating damages on classwide basis. December 12-13, 2012. Retained by Plaintiffs.

    In the Matter of the Commission Rate Adlustment for Montana Agency Liquor Store. Great Falls No. 140 ;
        Cause No. 10-165-LQ and Great Falls No. 141; Cause No. 10-166-LO. Before the Department of
        Revenue, State of Montana. Testimony at hearing regarding statistical methodology used to establish
        commission rates. December 7, 2012. Retained by Department of Revenue.

    Lake City Medical Group . d/b/a Southern Medical Group v. Blue Cross Blue Shield of Florida, Inc. Circuit
       Court of the 3rd Judicial Circuit and for Columbia County, FL; Case No.: 03-29CA. Testimony in class
       certification hearing regarding proposed methodology for computing medical claim underpayments on
       a classwide basis. November 15, 2012. Retained by Defendant.

    Lake City Medical Group, d/b/a Southern Medical Group v. Blue Cross Blue Shield of Florida. Inc. Circuit
       Court of the 3rd Judicial Circuit and for Columbia County, FL; Case No.: 03-29CA. Testimony in
       deposition regarding proposed methodology for computing medical claim underpayments on a
       classwide basis. October 30 , 2012 . Retained by Defendant.

    CMMF. LLC v. J.P. Morgan investment. inc. and Ted C. Ufterfilge. Supreme Court of the State of New
      York, County of New York; Index No. 09-601924. Testimony in deposition regarding statistical
      comparison of financial metrics for managed accounts. August 31 , 2012. Retained by Plaintiff.


   C>Info Tech
         1.,r-;o·t,~Tw r~   ;, r   w::·~"                                                                         6
Case 2:15-cv-03048-R-FFM Document 59 Filed 05/09/16 Page 14 of 24 Page ID #:1380


                                                     James T. Mcclave, Ph.D .


    Urethane Antitrus t Litigation, Seegott Holdin gs, Inc., et al. v. Bayer AG , et al. Relates to the Polyether
       Polyol Cases. U.S. Disctrict Court, District of Kansas , Case No. 04-MD-1616-JWL. Testimony in
       deposition regarding classwide damage estimation. July 12, 2012. Retained by Plaintiffs.

    TFT-LCD <Flat Panel) Antitrust Litigation. U.S. District Court, Northern District o California, MDL 1827;
      No. M-07-1827 SI ; Relating to All Actions Testimony in deposition regarding pass-through rates and
      damages for indirect purchasers. June 13, 2012 . Retained by Plaintiffs.

    IMA Ponte Vedra, Ltd .. et al. v. Food Lion , Inc. , et al. Circuit Court, 71h Judicial Circuit, St. Johns County,
       Florida, Case No.CA09-2495. Testimony in deposition regarding damage methodology in breach of
       contract case. May 15, 2012. Retained by Defendants.

    Air Cargo Shipping Services Antitrust Litigation . U.S. District Court for the District of New York, MDL No.
        1775; Master File 06-MD-1775(JG)(VVP); Relating to All Actions. Testimony in deposition regarding
        methodology for determining classwide impact. April 12, 2012. Retained by Plaintiffs.

    Air Cargo Shipping Services Antitrust Litigation. U.S. District Court for the District of New York , MDL No.
        1775; Master File 06-MD-1775(JG)(VVP); Relating to All Actions. Testimony in deposition regarding
        methodology for determining classwide impact. February 16, 2012. Retained by Plaintiffs.


                                                Professional Activities and Awards


    Entrepreneur of the Year, University of Florida, Center for Entrepreneurship and Innovation, 2005.

    Outstanding Alumni, University of Florida, Department of Statistics, 2002.

    University of Florida Committees

       University of Florida Center for Entrepreneurship and Innovation , 2002.
       University of Florida President's Council, 2001-present.
       Business Leaders Forum, 1994-present.
       College of Business Undergraduate Curriculum Committee , 1988-1989.
       College of Business Teaching Committee, 1987-1988.
       College of Business Associate Dean Search Committee, 1987
       College of Business and Liberal Arts and Sciences Task Force, 1986-1989.
       College of Business Computing Committee, 1986-1989.
       University Senate, 1979-1980.
       College of Liberal Arts and Sciences Tenure and Promotion Committee, 1978-1979, 1979-1980.
       College of Arts and Sciences Curriculum Committee, member 1976-1980.
       College of Arts and Sciences Computer Sciences Committee Member, 1973-1976;
            Chairman 1974-1975.
       Instruction and Research Users Committee, NERDC, member 1974-1975.

    Council for Economic Outreach

   The Executive Committee (TEC)

    Board Member, Gainesville Chamber of Commerce Tech Council

    Board Member, Superior Clay Corporation




   C>Info Tech _
         i'i!,(;"/M!\'J '~   /.I   L\'',H;'I(                                                                            7
Case 2:15-cv-03048-R-FFM Document 59 Filed 05/09/16 Page 15 of 24 Page ID #:1381


                                           James T. McClave, Ph.D .


    State of Florida Department of Education Committee

      Statewide Common Course Designation and Number Project, Statistics Task Force Member,
      1974-1981.

    Professional Associations

      American Statistical Association
      American Bar Association - Associate Member - Section of Antitrust Law
      International Association of Assessing Officers
      NHCAA, National Health Care Anti-Fraud Association

    Invited Teaching/Training Sessions

      Collusion Detection Training, "Short Course in Computerized Collusion Detection," Gainesville, FL,
            February 26, 2015.
      Collusion Detection Training, "Short Course in Computerized Collusion Detection," Gainesville, FL,
            February 13, 2014.
      Collusion Detection Training, "Short Course in Computerized Collusion Detection," Gainesville, FL,
            February 26-28, 2013.
      "Collusion Detection Methods Training," Florida Department of Transportation, September 11-13,
          2012.
      DSS On-Site Training, Ohio Department of Transportation, August 7-9, 2012.
      Collusion Detection Training, "Short Course in Computerized Collusion Detection," Gainesville, FL,
            February 27-March 1, 2012.
      BAMS/DSS Asphalt/Concrete Analysis Presentation, Minnesota Department of Transportation,
          October 31, 2011.
      BAMS/DSS Asphalt/Concrete Analysis Presentation, Minnesota Department of Transportation,
          June 26-27, 2011 .
      BAMS/DSS Market Analysis Presentation, Alabama Department of Transportation, May 16-17, 2011 .
      "Collusion Detection Methods Training," Montana Department of Transportation, November 8-10,
          2010.
      "BAMS/DSS Econometric Training," FBI/Office of Inspector General, U.S. Department of
          Transportation, August 17-18, 2010.
      "Collusion Detection Training, " Minnesota Department of Transportation, June 9-10, 2010.
      "Collusion Detection Training," Kentucky Department of Transportation , March 16-18, 2010.
      Ohio BAMS/DSS Econometric Training, Webinar Presentations, May 1, May 15 and June 18, 2008.
      "Bid Analysis and Collusion Detection Training," New Mexico Department of Transportation,
           April 2-3, 2008.
      Collusion Detection Training, "Short Course in Computerized Collusion Detection," Gainesville, FL,
            February 26-28, 2008 .
      Competition Analysis, Nebraska Department of Roads, February 12, 2008.
      "Dusting for Fingerprints of Collusion," SASHTO presentation, Huntsville, AL, August 5-6, 2007.
      "Bid Analysis and Collusion Detection Training," North Carolina Department of Transportation,
            March 12-15, 2007.
      "Bid Analysis and Collusion Detection Training ," South Carolina Department of Transportation,
           March 6-8, 2007.
      Collusion Detection Training, "Short Course in Computerized Collusion Detection," Gainesville, FL,
           February 27-March 1, 2007.
      Asphalt Analysis, Richmond, VA, December 8, 2006.
      BAMS/DSS Presentation, Helena, MT, August 16, 2006 and September 17, 2006.
      Collusion Detection Training , "Short Course in Computerized Collusion Detection," Albany, NY,
           July 21-25, 2006.
      Collusion Detection Training, "Short Course in Computerized Collusion Detection," Gainesville, FL,
           February 27-March 3, 2006.



   C> Info Tech
        i"i\G'f,\"'f<)~   /,J I\'(.'•\>:                                                                   8
Case 2:15-cv-03048-R-FFM Document 59 Filed 05/09/16 Page 16 of 24 Page ID #:1382


                                           James T. McClave, Ph.D .


      Collusion Detection Training , "Short Course in Computerized Collusion Detection," Gainesville, FL,
            February 22-25, 2005.
      Guest Lecturer at Penn Law School on "Use of Statistics and Econometrics in Antitrust Ligitation,"
            2004-2005.
       "Bid Analysis and Collusion Detection Training," Ohio Department of Transportation,
            November 16-18, 2004.
      "Bid Analysis and Collusion Detection Training ," Ohio Department of Transportation ,
            July 11-14, 2004.
      "Bid Analysis and Collusion Detection Training," Kentucky Department of Transportation,
            July 14-16, 2004.
      Collusion Detection Training, "Short Course in Computerized Collusion Detection," Gainesville, FL,
            February 24-26, 2004.
      "Competition Audit," Tennessee Department of Transportation, November 13, 2003.
      "Competition Audit," Nebraska Department of Transportation, October 27, 2003.
      "Collusion Detection Training," U.S. Department of Agriculture, Kansas City, MO, October 15-16, 2003
      "Competition Audit," Ohio Department of Transportation , August 26, 2003.
      "Competition Audit," Oregon Department of Transportation, June 4, 2003.
      "Collusion Detection Training," Ohio Department of Transportation, April 22-24, 2003.
      "Collusion Detection Training," South Carolina Department of Transportation, March 12, 2003.
      Collusion Detection Training, "Short Course in Computerized Collusion Detection," Gainesville, FL,
            February 25-27, 2003.
      "Statistical Methods for Medicare and Medicaid Investigations," University of Florida, Shands Hospital,
            one-day training in Jacksonville, FL, August 1, 2002.
      Collusion Detection Training, "Short Course in Computerized Collusion Detection," Gainesville, FL,
            February 20-22, 2001.
      "Collusion Detection Training," Ohio Department of Transportation, April 18-20, 2000.
      Collusion Detection Training , "Short Course in Computerized Collusion Detection," Gainesville, FL,
            February 22-24, 2000 .
      Missouri BAMS/DSS Data Analysis Presentation , December 13, 1999.
      Nebraska BAMS/DSS Data Analysis Presentation, November 1, 1999.
      Collusion Detection Training, "Short Course in Computerized Collusion Detection," Gainesville, FL,
            February 23-25, 1999.
      "Collusion Detection Training," Colorado Department of Transportation , December 7-8, 1998.
      "Collusion Detection Training," Texas Department of Transportation, September 1-2, 1998.
      Collusion Detection Training, "Short Course in Computerized Collusion Detection," Gainesville, FL,
            February 24-26, 1998.
      "Collusion Detection Training," Colorado Department of Transportation, December 18-19, 1997.
      "Collusion Detection Training ," Vermont Department of Transportation, November 4-5, 1997.
      "Collusion Detection Training," New Mexico Department of Transportation, June 26-27, 1997.
      "Collusion Detection Training," Missouri Department of Transportation, May 1-2, 1997.
      Collusion Detection Training, "Short Course in Computerized Collusion Detection," Gainesville, FL,
            February 4-6, 1997.
      "Collusion Detection Training," Indiana Department of Transportation, September 16-17, 1996.
      Collusion Detection Training, "Short Course in Computerized Collusion Detection," Gainesville, FL,
           April 23-25, 1996.
      "Collusion Detection Training ," Austin, TX, January 31-February 1, 1996.
      "Collusion Detection Training," Nebraska Department of Transportation , November 28-30, 1995.
      "Statistical Methods for Medicaid Investigations," Medicaid Program Integrity Unit, Florida Health Care
           Administration. One-half day training in Tallahassee, FL, June 1995.
      "Collusion Detection Training ," New Mexico State Highway and Transportation Department,
           September 1994.
      "Collusion Detection Using BAMS," BAMS Users' Group Meeting. One-day training course in
           Columbus, OH, October 1994.
      "Collusion Detection Seminar," Connecticut Department of Transportation. One-day training course ,
           December 1993.



   C> lnfoTech.
        i"i--;O't,\Tf,'J:J/.l IH)'\'.11.                                                                    9
Case 2:15-cv-03048-R-FFM Document 59 Filed 05/09/16 Page 17 of 24 Page ID #:1383


                                                 James T. McClave, Ph.D.


      "Collusion Detection Seminar," Colorado Department of Transportation . One-day training course ,
           November 1993.
      Florida Attorney General. Provided a one-day training seminar to state procurement officials on the
           use of analytical tools to detect bid-rigging and price-fixing, October 1993.
      "Collusion Detection Seminar," Virginia Department of Transportation, One-day training course,
           February 1993.
      United States General Services Administration, Inspector General's Office. Provide training in
           bid/price analysis and collusion detection, 1992.
      California Department of Transportation. Provide training in bid analysis and collusion detection using
           BAMS, 1992.
      New York City Department of Investigations. Three-day training program conducted on the use of
           computerized techniques to detect collusive behavior, 1990.
      Florida Attorney General. Provided a one-day training seminar to state procurement officials on the
           use of analytical tools to detect bid-rigging and price-fixing, 1989.
      Texas Department of Transportation. Three-day training provided to the bid analysis and collusion
           detection unit on the use of BAMS/DSS for collusion detection in bidding on highway contracts,
            1989.
      Virginia Department of Transportation. Three-day training provided to the bid analysis and collusion
            detection unit on the use of BAMS/DSS for collusion detection in bidding on highway contracts ,
            1989.
      "Training Session: Use of Computerized Techniques in Bid Monitoring and Collusion Detection,"
            FHWA Antitrust and Transportation Legal Affairs Meeting, Lake George, NY, November 1989.
      "Market Analysis and Adaptive Estimation Impact on Construction Cost," BAMS User's Group, San
            Antonio, TX, February 1989.
      "BAMS/DSS Collusion Detection Training: An Overview," BAMS Users' Group, San Antonio, TX,
           February 1989.
      Florida Department of Transportation. Three-day training course provided to the bid analysis and
           collusion detection unit on the use of BAMS/DSS for collusion detection in bidding on highway
           contracts, 1988.


   Invited Presentations

      University of Pennsylvania Law School (Penn Law), Guest Lecture: Econometrics of Antitrust,
           December 2009.
      University of Pennsylvania Law School (Penn Law), Guest Lecture: Econometrics of Antitrust,
           April 2009.
      University of Pennsylvania Law School (Penn Law), Guest Lecture: Econometrics of Antitrust,
           December 2006.
      University of Pennsylvania Law School (Penn Law), Guest Lecture: Econometrics of Antitrust,
           November 2004.
      American Statistical Association. Florida Section Keynote Speaker, February 2004.
      ABA National Meeting, Panel Member on "Use of Statistical Evidence to Prove Liability in Non-
           Employment Cases," Phoenix, AZ, May 11, 2001.
      Virginia Beach Fraud Conference, "Basics of Fraud and Collusion Detection," and "Computerized
           Fraud and Collusion Detection," May 5-7, 1999.
      "Top Ten Collusion Indicators for Estimators," Transportation Estimators Association, Portland, ME,
           October 26-28, 1998.
      "Bid Collusion Detection," AASHTO TANS .PORT Users' Group Conference, Portland, OR,
           October 4-7, 1997.
      "Using Expert Witness to Prove Damages in a Business Torts Case," Business Torts Seminar,
           Asheville, NC, October 10, 1997.
      "Entrepreneurism," Fast Trac II Course, sponsored by University of Florida and North Florida
           Technology Innovation Center, April to July 1996.
      "Using On-Site Service Units for Collusion Detection Projects," BAMS Users' Group Meeting, Mobile,
           AL, October 11 , 1995.


   C> Info Tech .
        1"f!-:0·1.\r;\1:~   /. J   1·, •:1::.~                                                             10
Case 2:15-cv-03048-R-FFM Document 59 Filed 05/09/16 Page 18 of 24 Page ID #:1384


                                             James T. McClave, Ph.D .


      Ohio Bar Association, "Computerized Analyses in Antitrust Investigations," CLE Course,
            October 1993.
      "Special Address: Expert Systems and Cost Estimation," Cost Estimation Workshop, Columbus, OH,
            November 1988.
      "Statistical Techniques for Item Level Price Estimation," BAMS Users' Group, Gainesville, FL,
            March 1987
      "Detecting Collusion in Highway Contracting: An Evaluation of Statistical Methods," BAMS Users'
            Group, Gainesville, FL, March 1987.
      "Damage Estimation at the Line Item Level for Highway Contracts," BAMS Users' Group, Gainesville,
            FL, March 1986.
      "The Role of the Textbook in Introductory Business Statistics Courses: The Efficient Market
            Hypothesis," Invited Paper, American Statistical Association Winter Meetings, January 1987.
      "Analysis of Toxicity Data," American Society of Testing and Measurement, Chicago, IL,
            October 1979.
      "Testing Goodness of Fit for Linear Time Series Models," American Statistical Association, National
            Meetings, Washington, DC, August 1979.
      "Analysis of a Sealed Bid Market Using a Statistical Model," TAMS-OSSA National Meeting, New
            Orleans, LA, Presented by T. Rothrock, 1979.
      "Analysis of Toxicity Data to Determine No-Effect Levels" presented at the EPA Fisheries Laboratory,
            Duluth, MN, 1978.
      "Another Look at Some Famous Time Series - the Max Chi-Square Technique," Poster Session,
            American Statistical Association, National Meeting, San Diego, CA, 1978.
      "Choosing the Order of Autoregressive and Moving Average Models: The Max Chi-Square
            Technique," National American Statistical Association Meeting, Boston, MA, 1976.
      "Subset Autoregression," invited paper presented to the Department of Statistical Science, State
             University of New York at Buffalo, NY, 1975.
      "Regression and Smoothing in Time Series," invited paper, University Statisticians of Southern
            Experiment Stations Conference, Gainesville, FL, 1974.
      "Introductory Statistics: The Normal Approach," Eastern Regional Meeting of the Institute of
            Mathematical Statistics, Blacksburg, VA, 1972.
      "On Estimation Problems for Stochastic Growth Processes," Joint National Meeting of the Institute of
            Mathematical Statistics and the American Statistical Associatoin, Fort Collins, CO, 1971.
      "On Some Problems of Estimation and Prediction for a Class of Growth Process," Joint National
            Meetings of the Institute of Mathematical Statistics and the American Statistical Association,
            Laramie, NM, 1970.
      "On Some Problems of Estimation and Prediction for Stationary Time Series," Regional Meetings of
            the American Statistical Association, Tallahassee, FL, 1970.


   Others

      Acting Department Chairman, Department of Statistics, University of Florida, Summers of 1974, 1975,
           and 1976.

      Invited discussant in Time Series Session, Regional Meetings of the American Statistical Association
            and the Biometric Society, Rochester, NY, 1975.

      Session Chairman, Joint Regional Meetings of the American Statistical Association and the Institute of
          Mathematical Statistics and the Biometric Society, Tallahassee, FL, 1974.


                                                                                              February 2016




   C> Info Tech _
        i"i'>'G1.\'!!1")!1AI I'!'..''..\<;                                                                11
Case 2:15-cv-03048-R-FFM Document 59 Filed 05/09/16 Page 19 of 24 Page ID #:1385




         ............................... Exhibit B
Case 2:15-cv-03048-R-FFM Document 59 Filed 05/09/16 Page 20 of 24 Page ID #:1386




                                              EXHIBITB

                                         Materials Considered

   Case Materials

    Court Filings - Case No. 2: J5-cv-03048-R-FFM, U.S. District Court for the Central District of
    California

             First Amended Complaint of the Thomas More Law Center, ECF No. 25

             Declaration of Richard Thompson In Support of Motion for Temporary Restraining
             Order dated April 23, 2015, ECF No. 10-2 and exhibits to same

             Supplemental Declaration of Richard Thompson In Support of PlaintiffTMLC Reply In
             Support of Preliminary Injunction dated May 6, 2015, ECF No. 19-2 and exhibits to same




   4831-0837-3039, v. 1
Case 2:15-cv-03048-R-FFM Document 59 Filed 05/09/16 Page 21 of 24 Page ID #:1387




         ............................... Exhibit C
Case 2:15-cv-03048-R-FFM Document 59 Filed 05/09/16 Page 22 of 24 Page ID #:1388




                                        C> Info Tech~INNOVATION AT WORK



                                     CONSULTING SERVICES RATE SCHEDULE
                                             Professional Services
                                                                                                                   HOURLY
                                               TITLE AND DESCRIPTION                                                RATE




     Dr. James T. McClave ·CEO/Expert Consultant                                                                    $750
        Info Tech's CEO with widely recognized expertise and accomplishments in statistics and econometrics.
        Ph.D. with over 30 years of experience. Directs key projects, provides expert testimony.


     Charles E. Engelke - CTO/Expert Consultant                                                                     $500
       Info Tech's CTO with expertise and accomplishments in web services and applications, software
       systems architecture, design, and development, network security, encryption and data security and
       cloud computing architecture and applications. Provides expert testimony.

     Project Director/Senior Consultant                                                                             $350
       Senior personnel with extensive experience in conducting and managing complex litigation projects.
       Can provide expert testimony.

     Project Manager/Senior Consultant                                                                              $300
       Senior personnel with extensive experience in conducting and managing project activities.

     Senior Analyst                                                                                                 $250
       Senior personnel capable of designing and performing highly technical analyses.

     Analyst                                                                                                        $200
       Personnel experienced in performing project work with minimal supervision.

     Programmer/Analyst                                                                                             $150
       Entry level programming and project analysis. Performs project work under close supervision.

     Senior Project Assistant                                                                                       $125
       Experienced personnel providing technical assistance and project management support
       to senior staff.

     Project Assistant                                                                                              $75
       Personnel providing project support activities, data entry and verification .

     Other Expenses
       Travel and other direct expenses invoiced at Info Tech's cost.

     Invoicing
        Invoices will be submitted monthly. Amounts not paid within sixty days of the invoice date will accrue
        interest at 1.5% per month.




                                             www.infotechfl.co m
     5700 SW 34th Street • Suite 1235 • Gainesville. Fl 32608-5371 • Phone: (352) 381-4400 • Fax: (352) 381 4444




                                                                                                                            160127
     Case 2:15-cv-03048-R-FFM Document 59 Filed 05/09/16 Page 23 of 24 Page ID #:1389




                                      PROOF OF SERVICE
 2
                       Thomas More Law Center v. Kamala Harris
 3
                UNITED STATES DISTRICT COURT- CENTRAL DISTRICT,
 4                         CASE NO. 2:15-cv-03048-R-FFM
 5
              I am employed in the County of San Francisco, State of California. I am
 6     over the age of 18 and not a party to this action. My business address is 425
 7     California Street, Suite 2100, San Francisco, California, 94104. On the execution
       date below and in the manner stated herein, I served the following documents:
 8

 9
                      EXPERT REPORT OF DR. JAMES T. McCLAVE
10

11     on all interested parties in this action by placing [ ] the original or [X] a true copy
       of the original thereof enclosed in sealed envelopes addressed as follows:
12

13
       Kim L. Nguyen, Esq.                       Kevin A. Calia, Esq.
14     Deputy Attorney General                   Deputy Attorney General
15
       Department of Justice                     Department of Justice
       Office of the Attorney General            Office of the Attorney General
16     300 South Spring Street, Suite 1702       1300 I Street, Suite 125
17     Los Angeles, CA 90013                     Sacramento, CA 95814
       kim.nguyen@doj.ca.gov                     ke in.calia@doj.ca.gov
18

19
       [X] BY MAIL I deposited such envelope(s) with postage thereon fully prepaid·
20
       the United States mail at a facility regularly maintained by the United States Postal
21     Service at San Francisco, California. I am readily familiar with the firm's practice
22     of collecting and processing correspondence for mailing. Under the practice it
       would be deposited with the U.S. Postal Service on that same day with postage
23     thereon fully prepaid at San Francisco, California in the ordinary course of
24     business. I am aware that on motion of the party served, service is presumed
       invalid if postal cancellation date or postage meter date is more than one day after
25
       date of deposit for mailing, pursuant to this affidavit.
26
27
       [X] I declare under penalty of perjury under the laws of the State of California
       that the above is true and correct.
28


                                              - 1-
                                        PROOF OF SERVICE
     Case 2:15-cv-03048-R-FFM Document 59 Filed 05/09/16 Page 24 of 24 Page ID #:1390




 1           Executed on March 30, 2016, at San Francisco, California.
 2
 3

 4

 5

 6

 7
 8

 9

10

11
12

13

14

15

16

17

18

19
20
21

22
23

24

25

26
27

28


                                           -2-
                                     PROOF OF SERVICE
